OPINION — AG — QUESTION: CAN THE COMMISSIONER OF THE LAND OFFICE LAWFULLY GRANT A PERPETUAL EASEMENT FOR HIGHWAY PURPOSE OVER STATE OWNED LANDS UNDER THEIR JURISDICTION AND CONTROL FOR A NOMINAL CONSIDERATION OR A CONSIDERATION SUBSTANTIALLY LESS THAN THE VALUE OF THE LAND AS ESTABLISHED BY AN APPRAISAL BY THREE QUALIFIED APPRAISERS OF THIS DEPARTMENT (LAND OFFICE) ? — NEGATIVE CITE: 64 O.S.H. 181, ARTICLE XI, SECTION 1, ARTICLE XI, SECTION 4, OPINION NO. MARCH 25, 1951 — LEE, ARTICLE XI, SECTION 2, ARTICLE XVIII, SECTION (OLD CONSTITUTION. ARTICLE VIII, SECTION 1), ARTICLE XI, SECTION 7 (ENABLING ACT) (FRED HANSEN)